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1    James H. Weingarten, DC Bar No. 985070
     Peggy Bayer Femenella, DC Bar No. 472770
2    James Abell, DC Bar No. 990773
     Cem Akleman, FL Bar No. 107666
3    Jennifer Fleury, NY Bar No. 5053178
     Meredith R. Levert, DC Bar No. 498245
4    James Gossmann, DC Bar No. 1048904
5    Federal Trade Commission
     600 Pennsylvania Avenue, NW
6    Washington, DC 20580
     Tel: (202) 326-3570
7
     jweingarten@ftc.gov; pbayerfemenella@ftc.gov;
8    jabell@ftc.gov; cakleman@ftc.gov;
     jfleury@ftc.gov; mlevert@ftc.gov;
9    jgossmann@ftc.gov
10   [Additional counsel identified on signature page in accordance with Local Rule 3-4(a)(1)]
11                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13
     FEDERAL TRADE COMMISSION,
14
                    Plaintiff,
15                                                      Case No. 3:23-cv-02880
            v.
16
     MICROSOFT CORP.,                                   STATEMENT IDENTIFYING
17                                                      WITNESSES AND EXHIBITS TO BE
     and                                                USED JUNE 27, 2023
18                                                      ____________________
     ACTIVISION BLIZZARD, INC.,
19
                    Defendants.
20

21
            Pursuant to the Court’s Order Following June 21, 2023 Status Conference (Dkt. 170),
22
     Plaintiff Federal Trade Commission respectfully submits this statement identifying the witnesses
23
     to be called on June 27, 2023 and the exhibits Plaintiff intends to use with the witnesses.
24
            Plaintiff intends to call Jim Ryan (by video deposition designation), Jeff Fisher (by video
25
     deposition designation), Phil Eisler (by video deposition designation), Dr. Robin Lee, and submit
26

27
     STATEMENT IDENTIFYING WITNESSES AND EXHIBITS TO BE USED JUNE 27, 2023
28   CASE NO. 3:23-cv-02880
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1    a Joint Stipulation regarding Microsoft employee Lori Wright in lieu of live testimony. Listed

2    below are the exhibits Plaintiff intends to use with these witnesses.

3            Defendants have stated their intent to call Dr. Elizabeth Bailey. Listed below are the

4    exhibits Plaintiff intends to use with the witnesses it intends to call, and the exhibits Plaintiff

5    may use on cross with Dr. Bailey.

6    Exhibits Plaintiff intends to use with Mr. Ryan:

7

8     Exhibit No.         In camera treatment requested (if any)             Used in
9     PX3106
10    PX3109
11    PX3110              ECF No. 172 at 6
12                                                                           ECF No. 175; ECF
      PX7053              ECF No. 172 at 7
13                                                                           No. 132
14                                                                           ECF No. 175; ECF
      PX7054              ECF No. 172 at 8
15                                                                           No. 132
16                                                                           ECF No. 175; ECF
      PX8001
17                                                                           No. 132
18
     Exhibits Plaintiff intends to use with Mr. Fisher:
19

20
      Exhibit No.         In camera treatment requested (if any)             Used in
21

22                        In camera treatment requested; ECF No. 161
      PX3113
23                        at 3

24                        In camera treatment requested; ECF No. 161
      PX3117
25                        at 3

26    PX3148

27
     STATEMENT IDENTIFYING WITNESSES AND EXHIBITS TO BE USED JUNE 27, 2023
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                                             2
              Case 3:23-cv-02880-JSC Document 222 Filed 06/26/23 Page 3 of 5




1     PX7062             Redactions requested; ECF No. 161 at 4        ECF No. 175
2

3
     Exhibits Plaintiff intends to use with Mr. Eisler:
4

5     Exhibit No.        In camera treatment requested (if any)        Used in

6     PX1781

7     PX2391

8                        In camera treatment requested; ECF No. 161
      PX3052                                                           ECF No. 175
9                        at 3

10                       In camera treatment requested; ECF No. 161
      PX3103                                                           ECF No. 175
11                       at 3
12    PX3104             Redactions requested; ECF No. 161 at 3
13                       In camera treatment requested; ECF No. 161
      PX3144
14                       at 3
15    PX7060             Redactions requested; ECF No. 161 at 3        ECF No. 175
16    PX8000             Redactions requested; ECF No. 161 at 4        ECF No. 175
17
     Exhibits Plaintiff intends to use with Dr. Lee:
18

19
      Exhibit No.        In camera treatment requested (if any)        Used in
20
      PX5000                                                           ECF No. 175
21
      PX5001
22

23   Defendants are calling Dr. Elizabeth Bailey. Plaintiff may use the following documents during
     cross of Dr. Bailey:
24

25    Exhibit No.        In camera treatment requested (if any)        Used in
26    PX5002
27
     STATEMENT IDENTIFYING WITNESSES AND EXHIBITS TO BE USED JUNE 27, 2023
28   CASE NO. 3:23-cv-02880
                                             3
            Case 3:23-cv-02880-JSC Document 222 Filed 06/26/23 Page 4 of 5




1     PX7077
2     PX2355
3     PX2448
4     PX2453
5     PX2460
6     PX2447
7     PX2452
8     PX2454
9     PX2456
10    PX2462
11    PX2463
12    PX2464
13
      PX2465
14
      PX2471
15
      PX7000
16
      PX7001
17
      PX7002                                                   ECF No. 175
18
      PX7003                                                   ECF No. 175
19
      PX7004                                                   ECF No. 175
20
      PX7005                                                   ECF No. 175
21
      PX7006                                                   ECF No. 175
22
      PX7007                                                   ECF No. 175
23
      PX7008                                                   ECF No. 175
24
      PX7009
25
      PX7010                                                   ECF No. 175
26
      PX7011                                                   ECF No. 175
27
     STATEMENT IDENTIFYING WITNESSES AND EXHIBITS TO BE USED JUNE 27, 2023
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1     PX7012
2     PX7014                                                     ECF No. 175
3

4    DATED: June 26, 2023                          /s/ James H. Weingarten
                                                  James H. Weingarten
5
                                                  Peggy Bayer Femenella
6                                                 James Abell
                                                  Cem Akleman
7                                                 J. Alexander Ansaldo
                                                  Michael T. Blevins
8                                                 Amanda L. Butler
                                                  Nicole Callan
9
                                                  Maria Cirincione
10                                                Kassandra DiPietro
                                                  Jennifer Fleury
11                                                Michael A. Franchak
                                                  James Gossmann
12                                                Ethan Gurwitz
13                                                Meredith R. Levert
                                                  David E. Morris
14                                                Merrick Pastore
                                                  Stephen Santulli
15                                                Edmund Saw
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                                                  Federal Trade Commission
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                                                  600 Pennsylvania Avenue, NW
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                                                  Tel: (202) 326-3570
19
                                                  Counsel for Plaintiff Federal Trade
20                                                Commission

21

22

23

24

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26

27
     STATEMENT IDENTIFYING WITNESSES AND EXHIBITS TO BE USED JUNE 27, 2023
28   CASE NO. 3:23-cv-02880
                                             5
